543 U.S. 1138
    GARZA-GARCIAv.UNITED STATES;REYES-JASSOv.UNITED STATES; andBARRIOS-PEREZv.UNITED STATES.
    No. 04-8170.
    Supreme Court of United States.
    February 22, 2005.
    
      1
      C. A. 5th Cir. Reported below: 111 Fed. Appx. 746 (first judgment) and 778 (second judgment); 112 Fed. Appx. 971 (third judgment); Motions of petitioners for leave to proceed in forma pauperis granted. Certiorari granted, judgments vacated, and cases remanded for further consideration in light of United States v. Booker, ante, p. 220.
    
    